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                                                                                                             UNITED STATES DISTRICT COURT
                                                                                                             EASTERN DISTRICT OF MICHIGAN
                                                                                                                  SOUTHERN DIVISION

                                                                                JOHN COSTIGAN, Individually,                               Case No.
                                                                                                                                           Hon.
                                                                                                     Plaintiff,

                                                                                vs.
Michigan Auto Law, 30101 Northwestern Highway, Farmington Hills MI 48334 (248) 353-7575




                                                                               MEMBERSELECT INSURANCE COMPANY,
                                                                               METROPOLITAN LIFE INSURANCE COMPANY,
                                                                               COMAU, LLC, FCA USA LLC, EQUIAN, LLC,
                                                                               and BLUE CROSS BLUE SHIELD OF MICHIGAN
                                                                               MUTUAL INSURANCE COMPANY,

                                                                                                     Defendants.

                                                                               ______________________________________/
                                                                               JOSHUA R. TEREBELO (P72050)
                                                                               JORDAN M. JONES (P77866)
                                                                               MICHIGAN AUTO LAW, P.C.
                                                                               Attorneys for Plaintiff
                                                                               30101 Northwestern Hwy.
                                                                               Farmington Hills, MI 48334
                                                                               248-353-7575; Fax (248) 254-8091
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                                                                               jjones@michiganautolaw.com
                                                                               _____________________________________/

                                                                                                                           COMPLAINT

                                                                                             A complaint arising out of this transaction or occurrence has been filed in the
                                                                                            Oakland County Circuit Court before the Honorable Hala Jarbou and given Case
                                                                                                      Number 2019-172670-NI. That actions remains pending.

                                                                                                                  /S/ Joshua R. Terebelo_______________
                                                                                                                        Joshua R. Terebelo (P72050)


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                                                                                               NOW COMES the Plaintiff, JOHN COSTIGAN (hereinafter referred to as

                                                                                “COSTIGAN”), by his attorneys, MICHIGAN AUTO LAW, P.C., and for the

                                                                                Complaint against Defendants, states as follows:

                                                                                                               Nature and Action and Jurisdiction

                                                                                               1.    This is an action to:
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                                                                                            A.     Declare Plaintiff’s right to benefits and the priority of coverage under
                                                                                §502(a)(1)(B) of the Employee Retirement Income Security Act (hereinafter referred to as
                                                                                “ERISA”), 29 U.S.C. §1132, and the Michigan No-Fault Act, M.C.L. §500.3101, et. seq.;

                                                                                              B.    Enjoin certain acts and practices and to obtain other appropriate
                                                                                equitable relief under §502(a)(3) of ERISA, 29 U.S.C. §1132(a)(3).

                                                                                               2.    This Court has jurisdiction over plaintiff’s ERISA claims pursuant to 29

                                                                                U.S.C. §1132(e)(1).

                                                                                               3.    This Court has supplemental jurisdiction over plaintiff’s claims arising under

                                                                                the Michigan No-Fault Act pursuant to 28 U.S.C. §1367(a).

                                                                                               4.    Venue is proper in this district pursuant to 29 U.S.C. §1132(e)(2) and 28

                                                                                U.S.C. §1391(b).

                                                                                                                 Parties and General Allegations

                                                                                               5.    Plaintiff, COSTIGAN, is a beneficiary of the defendants, METROPOLITAN

                                                                                LIFE INSURANCE COMPANY (hereinafter referred to as “METLIFE”), and BLUE

                                                                                CROSS BLUE SHIELD OF MICHIGAN MUTUAL INSURANCE COMPANY

                                                                                (hereinafter referred to as “BCBSM”), through COSTIGAN’s employment with COMAU


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                                                                                LLC (hereinafter “COMAU”) and/or FCA US LLC(hereinafter referred to as “FCA”), and

                                                                                he is also insured under an automobile insurance policy through MEMBERSELECT

                                                                                INSURANCE COMPANY (hereinafter referred to as “AAA”), who provides coverage to

                                                                                COSTIGAN under the Michigan No-Fault Act.

                                                                                               6.    Through his employment with COMAU and/or FCA, COSTIGAN is provided
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                                                                                with short term disability and medical insurance benefits through METLIFE and BCBSM,

                                                                                respectively.

                                                                                               7.    Upon information and belief, Defendant, METLIFE is a self-insured, welfare

                                                                                benefit plan administered under the terms of ERISA for the benefit of FCA employees and

                                                                                their families, including beneficiaries living in Michigan.

                                                                                               8.    Upon information and belief, COMAU and/or FCA, is the claims

                                                                                administrator for the Defendant METLIFE’s insurance plan as described in paragraph 6,

                                                                                which is a welfare benefit plan administered under the terms of ERISA for the benefit of

                                                                                FCA Employees and their families, including beneficiaries living in Michigan.

                                                                                               9.    Defendant EQUIAN is under contract to provide recovery services to

                                                                                Defendant METLIFE, Defendant METLIFE being a welfare benefit plan administered

                                                                                through Defendants COMAU and/or FCA, under the terms of ERISA for the benefit of

                                                                                COMAU and/or FCA Employees and their families, including beneficiaries living in

                                                                                Michigan, and Defendant EQUIAN does in fact engage in collection activities in Michigan,

                                                                                involving Michigan residents, relative to contracts entered into in the state of Michigan.

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                                                                                               10.   Upon information and belief, Defendant, BCBSM is a self-insured, welfare

                                                                                benefit plan administered under the terms of ERISA for the benefit of COMAU and/or

                                                                                FCA employees and their families, including beneficiaries living in Michigan.

                                                                                               11.   In the alternative, BCBSM is the claims administer for the COMAU and/or

                                                                                FCA plan and administers the claims and claim payments for the health insurance plan of
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                                                                                COMAU and/or FCA, through BCBSM, which is a welfare benefit plan administered

                                                                                under the terms of ERISA for the benefit of COMAU and/or FCA employees and their

                                                                                families, including beneficiaries living in Michigan.

                                                                                               12.   Defendant, AAA is a Michigan insurance company that provides insurance

                                                                                coverage to Michigan residents under policies sold throughout Michigan.

                                                                                                                      Factual Background

                                                                                               13.   COSTIGAN, was involved in a motor vehicle collision on November 17,

                                                                                2018, in Tory, Michigan, in which COSTIGAN sustained serious injuries arising out of the

                                                                                ownership, operation, maintenance and/or use of a motor vehicle as a motor vehicle within

                                                                                the meaning of defendant AAA’s insurance policy and the statutory provisions of the

                                                                                Michigan No-Fault Act, being MCLA 500.3101, et. seq.

                                                                                               14.   COSTIGAN suffered, amongst other injuries, a torn right shoulder requiring

                                                                                surgical repair, and left knee injuries.

                                                                                               15.   At all materials times plaintiff COSTIGAN was entitled to short term

                                                                               disability benefits provided by the Defendant METLIFE plan, administered by Defendant

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                                                                                COMAU and/or FCA, in which he was a participant in the event that he were to become

                                                                                injured and unable to work. The plan administered by Defendant METLIFE and/or

                                                                                Defendant COMAU and/or FCA was a welfare plan as described above.

                                                                                               16.   At all material times COSTIGAN was entitled to health insurance benefits

                                                                                provided by the Defendant BCBSM plan in which he was a participant. The plan
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                                                                                administered by Defendant BCBSM was a welfare plan as described above.

                                                                                               17.   At all material times the plaintiff was covered for Michigan No-Fault personal

                                                                               protection insurance (also referred to as “PIP”) benefits through an automobile policy of

                                                                               insurance issued by AAA, which provides for payment work loss incurred in the first three

                                                                               immediately following the November 17, 2018 accident, and of all allowable expenses for

                                                                               COSTIGAN’s medical care, recovery and rehabilitation, in accordance with M.C.L. §

                                                                                500.3107, and defendants BCBSM, METLIFE, COMAU, FCA and/or EQUIAN, were

                                                                                made aware, or informed, or had express/implied knowledge of the AAA coverage. The

                                                                                coverage listed AAA as primary for Work Loss and “Coordinated”, or secondary, for

                                                                                Medical Expenses.

                                                                                               18.   In accordance with the terms of the METLIFE plan, administered by

                                                                               Defendant COMAU and/or FCA, and sponsored by Defendant COMAU and/or FCA, and

                                                                               in accordance with the terms of the BCBSM plan, administered and/or sponsored by

                                                                               BCBSM, COMAU and/or FCA, numerous and substantial expenses for COSTIGAN’s

                                                                                wage loss, medical care and treatment, surgery, hospitalization and rehabilitation

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                                                                                necessitated by the injuries they suffered in the November 17, 2018, motor vehicle accident

                                                                                were paid by or on behalf of the plans by METLIFE, BCBSM, COMAU, and/or FCA.

                                                                                               19.   Under the Michigan No-Fault Act, pursuant to MCL § 500.3135, COSTIGAN,

                                                                                is specifically prohibited from recovering any medical expenses, or any work loss incurred

                                                                                within the first three years of the date of the accident, from the driver and/or owner of the
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                                                                                at-fault motor vehicle that caused the November 17, 2018 accident in which COSTIGAN

                                                                                was seriously injured.

                                                                                               20.   The METLIFE and BCBSM plans, sponsored and/or administered by

                                                                                COMAU and/or FCA, contain purported provisions requiring COSTIGAN, or those

                                                                                pursuing a legal claim on his behalf, to reimburse the METLIFE and BCBSM plans,

                                                                                sponsored and/or administered by COMAU and/or FCA, for any expenses which the plans

                                                                                paid to or on behalf of COSTIGAN for any and all November 17, 2018 motor vehicle

                                                                                accident related work loss benefits, care, and/or treatment expenses, out of any legal or

                                                                                other recovery made by or on behalf of COSTIGAN. The purported reimbursement

                                                                                provisions are allegedly without qualification and reimbursement is allegedly due

                                                                                notwithstanding the inability of COSTIGAN, or those acting on his behalf, to recover

                                                                                healthcare expenses, or work loss within the first three years of the date of the accident, in

                                                                                the third-party automobile negligence action, due to the limitations imposed by the

                                                                                Michigan No-Fault Act. MCL § 500.3135.

                                                                                               21.   The METLIFE and BCBSM plans, sponsored and/or administered by

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                                                                                COMAU and/or FCA, also allegedly contain purported provisions giving the plans the

                                                                                right of subrogation with respect to any expenses which METLIFE or BCBSM, sponsored

                                                                                and/or administered by COMAU and/or FCA, paid to or on behalf of COSTIGAN related

                                                                                to work loss, or the care and/or treatment of his November 17, 2018 motor vehicle collision

                                                                                related injuries, from any legal or other recovery made by or on behalf of COSTIGAN.
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                                                                                The purported reimbursement provisions are allegedly without qualification and

                                                                                reimbursement is allegedly due notwithstanding the inability of COSTIGAN, or those

                                                                                acting on his behalf, to recover healthcare expenses or work loss incurred within the first

                                                                                three years of the date of the accident in the third-party automobile negligence action, due

                                                                                to limitations imposed by the Michigan No-Fault Act. MCL § 500.3135.

                                                                                               22.   The METLIFE and BCBSM plans, sponsored and/or administered by

                                                                               COMAU and/or FCA, are silent with respect to any provision expressly creating a “lien”

                                                                                with regard to any claimed overpayment of motor vehicle collision related medical

                                                                                expenses.

                                                                                               23.   At all material times, EQUIAN and/or METLIFE plan, sponsored and/or

                                                                               administered by COMAU and/or FCA, knew that the relevant METLIFE plan, sponsored

                                                                                and/or administered by COMAU and/or FCA, did not create a valid and/or enforceable

                                                                                “lien” against a Michigan No-Fault third-party recovery.

                                                                                               24.   At all material times, EQUIAN and/or METLIFE, sponsored and/or

                                                                               administered by COMAU and/or FCA, knew that the METLIFE plan, sponsored and/or

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                                                                                administered by COMAU and/or FCA, did not have a valid and/or enforceable claim for

                                                                                reimbursement of work loss expenses against a third-party automobile negligence

                                                                                settlement governed by the Michigan No-Fault Act.

                                                                                               25.   At all material times, BCBSM knew that the relevant BCBSM plan did not

                                                                                create a valid and/or enforceable “lien” against a Michigan No-Fault third-party recovery.
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                                                                                               26.   At all material times, BCBSM knew that the BCBSM plan did not have a valid

                                                                                and/or enforceable claim for reimbursement of healthcare expenses against a third-party

                                                                                automobile negligence settlement governed by the Michigan No-Fault Act.

                                                                                               27.   At this time, unpaid November 17, 2018, motor vehicle collision related

                                                                                medical expense benefits, as well as additional unpaid personal injury protection benefits

                                                                                including, but not limited to, wage loss and replacement services benefits are due and

                                                                                owing to the plaintiff by AAA.

                                                                                                                    COUNT I
                                                                                                        DECLARATION OF RIGHTS UNDER ERISA
                                                                                                           AND MICHIGAN NO-FAULT ACT

                                                                                               28.   Plaintiff restates all of the previous allegations as incorporated herein.

                                                                                               29.   The terms of the METLIFE plan, sponsored and/or administered by COMAU

                                                                               and/or FCA, and being pursued by EQUIAN for collection, appear to be conflicting and

                                                                               ambiguous with respect to the duty of the plan, to pay benefits in the context of a Michigan

                                                                               motor vehicle collision, but resolution of the ambiguity will not result in a valid claim for

                                                                               reimbursement against the plaintiff’s third-party automobile negligence recovery.

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                                                                                               30.   The terms of the BCBSM plan, sponsored and/or administered by COMAU

                                                                                and/or FCA, appear to be conflicting and ambiguous with respect to the duty of the plan, to

                                                                                pay benefits in the context of a Michigan motor vehicle collision, but resolution of the

                                                                                ambiguity will not result in a valid claim for reimbursement against the plaintiff’s third-

                                                                                party automobile negligence recovery.
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                                                                                               31.   To the extent that there is any other source of fund against which METLIFE,

                                                                                and/or EQUIAN and/or BCBSM and/or COMAU and/or FCA may seek subrogation or

                                                                                reimbursement, it is the AAA No-Fault PIP policy, which provides coverage for all

                                                                                medical expenses, and work loss within the first three years of the accident, arising from

                                                                                the November 17, 2018, motor vehicle accident.

                                                                                               32.   If the “coordination of benefits” language of the METLIFE and/or BCBSM

                                                                                plans, sponsored by COMAU and/or FCA, is enforceable, as initially determined by the

                                                                                administrators of METLIFE and BCBSM, then the METLIFE and BCBSM plans remain

                                                                                primary in priority and AAA is secondary in priority.

                                                                                               33.   If the METLIFE and/or BCBSM plans, sponsored by COMAU and/or FCA,

                                                                                have provisions regarding reimbursement/subrogation that take precedence, essentially

                                                                                nullifying the “coordination of benefits” terms, then the METLIFE and/or BCBSM plans

                                                                                may have a right of reimbursement against AAA, only.

                                                                                               34.   To the extent that the METLIFE and BCBSM plans, sponsored by COMAU

                                                                                and/or FCA, have any valid claims of reimbursement of November 17, 2018, motor vehicle

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                                                                                collision related work loss or medical expenses against the Plaintiff’s third-party recovery,

                                                                                then those expenses were not really payable by the METLIFE and BCBSM plans,

                                                                                sponsored by COMAU and/or FCA, and thus AAA must be deemed primary with respect

                                                                                to payment COSTIGAN’s work loss claims through three years from the date of the

                                                                                accident, and his medical claims.
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                                                                                          35.   Under no circumstances is the Plaintiff, COSTIGAN, liable for payment of

                                                                                medical expenses out of any third-party tort recovery, as the Michigan No-Fault Act

                                                                                prohibits a third party tort recovery of work loss within the first three years of the accident,

                                                                                and medical expenses.

                                                                                          36.   Therefore, either the METLIFE and/or BCBSM plans sponsored by COMAU

                                                                                and/or FCA, or the AAA PIP automobile policy, is responsible for paying November 17,

                                                                                2018 motor vehicle collision related work loss and medical expenses incurred by

                                                                                COSTIGAN. Thus, it would be appropriate for the Court to declare respective rights of the

                                                                                parties in this regard.

                                                                                          WHEREFORE, Plaintiff requests this Honorable Court to declare the rights of the

                                                                                parties regarding the Defendants’ obligations to pay Plaintiff’s November 17, 2018, motor

                                                                                vehicle collision related work loss and medical benefits, and determine the priority of

                                                                                coverage under the terms of the METLIFE and/or BCBSM plans sponsored by COMAU

                                                                                and/or FCA, the AAA policy, ERISA, and the Michigan No-Fault Act.



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                                                                                                               COUNT II
                                                                                                INJUNCTIVE RELIEF UNDER §502(a)(e) or ERISA

                                                                                          37.   Plaintiff restates all of the previous allegations as incorporated herein.

                                                                                          38.   The METLIFE plan, sponsored by COMAU and/or FCA, does not have a

                                                                                valid right of reimbursement, right of subrogation or lien of any kind against Plaintiff or his
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                                                                                third-party tort claim, arising from the November 17, 2018 motor vehicle accident.

                                                                                          39.   The Plaintiff is a beneficiary of the METLIFE plan, sponsored by COMAU

                                                                               and/or FCA, and is entitled to seek injunctive relief under § 502(a)(3) of ERISA to prevent

                                                                               any further wrongful attempts to collect the reimbursement debt allegedly owed to

                                                                               METLIFE, and/or COMAU and/or FCA, and/or pursued by EQUIAN.

                                                                                          40.   Therefore, it would be appropriate and equitable for this Court to enjoin the

                                                                               METLIFE plan sponsored by COMAU and/or FCA, and/or EQUIAN, and their contractors

                                                                               and subcontractors, from making any further attempts to collect the alleged reimbursement

                                                                               debt from the Plaintiff.

                                                                                          41.   The BCBSM plan, sponsored by COMAU and/or FCA and/or BCBSM, does

                                                                               not have a valid right of reimbursement, right of subrogation or lien of any kind against

                                                                               Plaintiff or his third-party tort claim, arising from the November 17, 2018 motor vehicle

                                                                               accident.

                                                                                          42.   The Plaintiff is a beneficiary of the BCBSM plan, sponsored by COMAU

                                                                               and/or FCA and/or BCBSM, and is entitled to seek injunctive relief under §502(a)(3) of


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                                                                                ERISA to prevent any further wrongful attempts to collect the reimbursement debt

                                                                                allegedly owed to BCBSM.

                                                                                          43.   Therefore, it would be appropriate and equitable for this Court to enjoin the

                                                                                BCBSM plan, sponsored by COMAU and/or FCA, and its contractors and subcontractors,

                                                                                from making any further attempts to collect the alleged reimbursement debt from the
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                                                                                Plaintiff.

                                                                                          WHEREFORE, Plaintiff requests this Honorable Court grant a permanent

                                                                                injunction against Defendants, prohibit them or their agents, subcontractors or anyone else

                                                                                from making any further attempts to collect the alleged reimbursement debt from the

                                                                                Plaintiff related to work loss or medical expenses.



                                                                                                                                 Respectfully submitted,

                                                                                                                                 Michigan Auto Law, PC


                                                                                                                          BY: /S/ Joshua R. Terebelo______________
                                                                                                                                JOSHUA R. TEREBELO (P72050)
                                                                                                                                Attorney for Plaintiff

                                                                                Dated: April 1, 2019




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